                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            WESTERN DISTRICT OF MISSOURI
                                 WESTERN DIVISION

UNITED STATES OF AMERICA,                      )
                                               )
                        Plaintiff,             )
                                               )
v.                                             )       Case No. 11-00223-04-CR-W-ODS
                                               )
BILLY RAY HALL,                                )
                                               )
                        Defendant.             )

                               REPORT AND RECOMMENDATION

        On September 21, 2011, the Grand Jury returned a seventy two count indictment against

fourteen defendants alleging a conspiracy to defraud the United States, 18 U.S.C. § 286, and the filing

of false claims for tax refunds, 18 U.S.C. §287 and 2. Defendant Billy Ray Hall is charged in Count

1, the conspiracy count, and Counts 3, 4, and 17-35, counts alleging the filing of false claims for tax

refunds. An initial appearance was held for this defendant on September 22, 2011, in the Middle

District of Alabama, and defendant was released on bond. Defendant was arraigned in this district

on October 6, 2011, and at his request counsel was appointed to represent him.

        Mr. Hall’s counsel filed a Motion to Withdraw, doc. # 133, on January 26, 2012. The basis

of the motion was a letter that counsel had received from Mr. Hall indicating he wished to proceed

pro se. A hearing on the motion was set on February 7, 2012, and defendant was advised that he must

be present in person for the February 7, 2012 hearing. On February 7, 2012, the defendant did not

appear, and an arrest warrant was issued.

        Defendant next appeared on March 6, 2012, for a show cause hearing on a Pretrial Services

Violation Report alleging that defendant violated the conditions of his release by failing to appear for

the hearing on February 7, 2012. According to the report, defendant was reminded of the February

7, 2012 hearing by both his Pretrial Services Officer and his attorney. On February 6, 2012, the




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defendant advised the Pretrial Services Officer via e-mail that he had a “private communication with

the Judge and the matter is resolved.” The matter had not been resolved prior to February 7, 2012,

nor had the Court had any private communications with the defendant.

       At the time of the show cause hearing, the Pretrial Services Officer advised that he had been

given a medical report by Dr. Alan D. Prince, M.D. regarding defendant’s follow-up visit on January

3, 2012. Dr. Prince, a board certified neurologist, noted that the MRI scan of Mr. Hall’s brain showed

some small vessel ischemic changes with atrophy. The report indicated that the doctor suspected that

Mr. Hall has Alzheimer’s, therefore, he was placing the defendant on an Exelon patch. (Doc. # 149)

       Based upon this information, the Court ordered that the defendant be examined for

competency to stand trial by Dr. William Logan. After Dr. Logan’s report was received, counsel for

the government asked for the opportunity to have the defendant examined by another doctor on the

issue of his competency to proceed to trial.

        A hearing was held on May 3, 2012, on the defendant’s competency. Defendant appeared

with counsel Christopher Angles. The government was represented by Tom Larsen and Dan Nelson.

The parties stipulated that the Court could consider the Psychiatric Evaluation of Dr. William S.

Logan, M.D. and the Independent Neurocognitive Assessment of Michael Anderson, Ph.D. No other

evidence on the issue of the defendant’s competency was presented.

       Dr. Logan’s diagnosis included the following:

       Axis I:         Clinical Conditions–

                       294.11 Dementia of the Alzheimer’s Type with behavioral disturbance, late
                              onset (after age 65)

       Axis II:        Personality Disorders-

                       Rule out: 310.1 Personality Change due to Alzheimer’s; other type


                                                  2




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       Axis III:       Related Physical Conditions–

                       Likely Alzheimer’s Disease
                       Rule out Vascular Dementia

(Psychiatric Evaluation at 13-14) Dr. Logan concluded:

       Mr. Hall qualifies for a diagnoses of dementia which at this point is mild (in
       comparison to more severe cases of dementia) but does produce memory impairment,
       particularly to recall new information, forgetfulness, and cognitive disturbances
       including poor executive functioning such as misunderstanding situations and
       meanings and making impulsive poor judgments in planning.

(Psychiatric Evaluation at 14) Dr Logan found that Mr. Hall understands the basis for the charges in

general, has a fair understanding of the roles of the various court officers, and generally recognizes

that he is in jeopardy of going to prison. (Psychiatric Evaluation at 15) However, his dementia has

the most impact on his ability to assist properly in his defense. Therefore, Dr. Logan was of the

opinion that “Mr. Hall has a mental defect, dementia, which renders him incompetent to the extent

he is unable to assist properly in his defense, although, in general he is able to understand the nature

and consequences of the proceedings against him.” (Psychiatric Evaluation at 16)

       Michael Anderson, Ph.D. reached similar conclusions to that of Dr. Logan finding:

       I agree that Mr. Hall likely suffers from a probable dementia of the Alzheimer’s type
       with behavioral disturbance, late onset (294.11). As Dr. Logan noted as well, co-
       existing vascular disease may be playing a role here as well. Given the observed
       neurocognitive deficits, I do not believe that Mr. Hall can reasonably consult with his
       lawyer with a reasonable degree of logical understanding. I also do not believe that
       Mr. Hall is adequately comprehending his current situation and the proceedings that
       are pending against him at this time. Objective testing confirms poor working
       memory, impaired abstract reasoning, and impaired mental processing speed. His
       judgment to date has been questioned along with his poor decision making ability.

                                            * * *
       It is my opinion that Mr. Billy Ray Hall has a mental defect, most likely a mixed
       dementia, that renders him in competent to assist in his own defense, or to fully
       understand the proceedings against him.

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(Independent Neurocognitive Assessment at 3) For these reasons, it is

        RECOMMENDED that the Court, after making an independent review of the record and

applicable law, enter an order finding that defendant Billy Ray Hall is incompetent in that he is

presently suffering from a mental disease or defect rendering him unable to unable to understand the

nature and consequences of the proceedings against him or properly assist in his defense. It is further

        RECOMMENDED that the Court commit defendant Billy Ray Hall to the custody of the

Attorney General pursuant to 18 U.S.C. §4241(d)(1). The Attorney General shall hospitalize the

defendant for treatment in a suitable facility for such a reasonable period of time, not to exceed four

months, as is necessary to determine whether there is a substantial probability that in the foreseeable

future defendant Hall will attain the capacity to permit the trial to proceed.

        Counsel are reminded they have ten days from the date of receipt of a copy of this Report and

Recommendation within which to file and serve objections to same. A failure to file and serve

objections by this date shall bar an attack on appeal of the factual findings in this Report and

Recommendation which are accepted or adopted by the district judge, except on the grounds of plain

error or manifest injustice.



                                                                 /s/ Sarah W. Hays
                                                                SARAH W. HAYS
                                                       UNITED STATES MAGISTRATE JUDGE




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